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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION



 THE DAILY WIRE, LLC et al.,

                Plaintiffs,

        v.                                      Civil Action No.: 6:23-cv-00609 (JDK)
 UNITED STATES DEPARTMENT
 OF STATE, et al.,

                Defendants.



                         [PROPOSED] ORDER
     GRANTING JOINT MOTION TO FILE FURTHER JOINT STATUS REPORT

       The parties move the Court to order that they file a further Joint Status Report by August

29, 2025. After considering the request, the Court finds it should be granted and orders as follows:

       It is hereby ORDERED that the Joint Motion to File a Further Joint Status Report is

GRANTED. It is FURTHER ORDERED that:

       By August 29, 2025, the parties shall file a Joint Status Report advising the Court of the

status of their settlement discussions and proposing a schedule for further proceedings as

appropriate.




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